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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 GREGORY GREENE, individually and on behalf of all              )
 others similarly situated,                                     )
                                                                )    14 C 1437
                                         Plaintiff,             )
                                                                )    Judge Gary Feinerman
                              vs.                               )
                                                                )
 MARK KARPELES,                                                 )
                                                                )
                                         Defendant.             )

                                               ORDER

       For the reasons set forth below, Defendant’s motion to certify orders for interlocutory
appeal [491] is denied.

                                            STATEMENT

        Defendant Mark Karpeles moves the court to certify two orders for interlocutory appeal
under 28 U.S.C. § 1292(b): the order denying his motion for summary judgment on Plaintiff
Gregory Greene’s fraud claim, Docs. 489-490 (reported at 2020 WL 3250715 (N.D. Ill. June 16,
2020)); and the order denying his motion to dismiss for lack of personal jurisdiction, Docs. 409-
410 (reported at 2019 WL 1125796 (N.D. Ill. Mar. 12, 2019)). As to the personal jurisdiction
order, Karpeles’s § 1292(b) motion is untimely, having been filed more than fifteen months after
the court entered that order. See Ahrenholz v. Bd. of Trs. of the Univ. of Ill., 219 F.3d 674, 675
(7th Cir. 2000) (“[T]he petition must be filed in the district court within a reasonable time after
the order sought to be appealed.”); Richardson Elecs., Ltd. v. Panache Broad. of Pa., Inc., 202
F.3d 957, 958 (7th Cir. 2000) (holding that a two-month delay between the court’s order and the
party’s § 1292(b) motion was too long). In any event, the § 1292(b) motion fails to satisfy the
standards for an interlocutory appeal as to both orders.

         A district court may certify an order for an interlocutory appeal only if it determines that
the order “involves a controlling question of law as to which there is substantial ground for
difference of opinion and that an immediate appeal from the order may materially advance the
ultimate termination of the litigation.” 28 U.S.C. § 1292(b). “There are four statutory criteria
for the grant of a section 1292(b) petition to guide the district court: there must be a question of
law, it must be controlling, it must be contestable, and its resolution must promise to speed up
the litigation.” Ahrenholz, 219 F.3d at 675 (emphasis omitted). “Unless all these criteria are
satisfied, the district court may not and should not certify its order … for an immediate appeal
under section 1292(b).” Id. at 676 (emphasis omitted). Pertinent here, the question of law must
be a “pure” question of law, “something the court of appeals could decide quickly and cleanly
without having to study the record,” such as “a question of the meaning of a statutory or
constitutional provision, regulation, or common law doctrine.” Id. at 676-77. As demonstrated


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by the court’s opinion denying Karpeles’s motion to dismiss, applying the precedents governing
personal jurisdiction to the pertinent facts requires a case-specific and fact-intensive analysis.
The same holds for the court’s opinion denying Karpeles’s summary judgment motion, which
required a fact-intensive examination of a complex record against the backdrop of the Illinois
law of common law fraud. Under these circumstances, the Seventh Circuit could not decide an
appeal of either order “quickly and cleanly without having to study the record.” Id. at 677.

        The Seventh Circuit’s decision in In re Text Messaging Antitrust Litigation, 630 F.3d 622
(7th Cir. 2010), is not to the contrary. That decision authorized an appeal under § 1292(b) to
consider whether a complaint plausibly alleged antitrust violations under the standard announced
in Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), even though the appeal required
“apply[ing] a legal standard … to a set of factual allegations.” Text Messaging, 630 F.3d at 625,
627. The Seventh Circuit distinguished Ahrenholz on the ground that Twombly was “a recent
decision, and its scope unsettled,” leaving “[p]leading standards in federal litigation … in
ferment.” Id. at 626-27. As a result, the Seventh Circuit explained, an early appeal could
potentially “head off protracted litigation.” Id. at 627. In so holding, the Seventh Circuit
reiterated the general rule that “routine applications of well-settled legal standards to facts
alleged in a complaint are [in]appropriate for interlocutory appeal.” Id. at 626.

        This court’s decisions denying Karpeles’s motions to dismiss and for summary judgment
fall squarely within the general rule established by Ahrenholz and do not qualify for the narrow
exception recognized in Text Messaging. The scope and application of the standards governing
personal jurisdiction and summary judgment are well settled, and no other recent, thinly
interpreted Supreme Court decision potentially controls the issues presented by either motion.
An interlocutory appeal of the court’s denials of those motions would therefore be inappropriate.



December 22, 2020                                    ____________________________________
                                                           United States District Judge




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